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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 18-CIV-20541-ALTONAGA
                                                 (05-CR-20874-ALTONAGA)
                                         MAGISTRATE JUDGE P.A. WHITE

  GUY PHILIPPE,

        Movant,

  v.                                                REPORT OF
                                                 MAGISTRATE JUDGE
  UNITED STATES OF AMERICA,

        Respondent.
                                     /

                                 I. INTRODUCTION
        This matter is before the court on Movant’s pro se motion to
  vacate, filed pursuant to 28 U.S.C. § 2255, which attacks the
  constitutionality of his conviction and sentence for one count of
  conspiracy to launder monetary instruments pursuant to 18 U.S.C. §
  1956(h). Judgment for these offenses was entered, following a
  guilty plea, in case no. 05-cv-20874-Altonaga.


        This    case   has    been    referred     to   the   undersigned      for
  consideration and report. (DE#2).1 The undersigned reviewed the
  entire record in this case, as well as the relevant records from
  the underlying criminal case.2 After conducting an evidentiary
  hearing and reviewing the record in its entirety, the undersigned
  has concluded that the motion should be denied.




        1
          The citation format “DE#()”refers to docket entries in this section 2255
  case. By contrast, the citation format “Cr-DE#()” refers to docket entries in the
  underlying federal criminal case. If a colon follows a docket entry number, the
  subsequent numbers function as pincites.
        2
          Courts may consider “the record of prior proceedings” to rule on a
  section 2255 motion. See Rule 4(b), Rules Governing Section 2255 Proceedings. See
  also 28 U.S.C. § 2255(b) (explaining that courts must review “the files and
  records of the case”).
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                               IV.      Standard of Review
        Because collateral review is not a substitute for direct
  appeal, the grounds for collateral attack on final judgments
  pursuant to §2255 are extremely limited. A prisoner is entitled to
  relief    under     §    2255    if    the   court      imposed     a   sentence    that
  (1) violated      the      Constitution or        laws of      the      United   States,
  (2) exceeded its jurisdiction, (3) exceeded the maximum authorized
  by law, or (4) is otherwise subject to collateral attack. See 28
  U.S.C. § 2255(a); McKay v. United States, 657 F. 3d 1190, 1194 n.8
  (11th Cir. 2011). “Relief under 28 U.S.C. § 2255 ‘is reserved for
  transgressions of constitutional rights and for that narrow compass
  of other injury that could not have been raised in direct appeal
  and would,     if       condoned,     result     in    a complete       miscarriage   of
  justice.’” Lynn v. United States, 365 F. 3d 1225, 1232 (11th Cir.
  2004)(citations omitted).


        The Eleventh Circuit promulgated a two-part inquiry that a
  district court must consider before determining whether a movant’s
  claim is cognizable. First, a district court must find that “a
  defendant assert[ed] all available claims on direct appeal.” United
  States v. Frady, 456 U.S. 152, 152 (1982); McCoy v. United States,
  266 F. 3d 1245, 1258 (11th Cir. 2001); Mills v. United States, 36
  F. 3d 1052, 1055 (11th Cir. 1994). Second, a district court must
  consider whether the type of relief the movant seeks is appropriate
  under Section 2255. This is because “[r]elief under 28 U.S.C. §
  2255 is reserved for transgressions of constitutional rights and
  for that narrow compass of other injury that could not have been
  raised in direct appeal and would, if condoned, result in a
  complete    miscarriage         of    justice.”       Lynn,   365   F.3d   at    1232-33
  (quoting Richards v. United States, 837 F. 2d 965, 966 (11th Cir.
  1988)(internal quotations omitted)).



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         If a court finds a claim under Section 2255 to be valid, the
  court “shall vacate and set the judgment aside and shall discharge
  the prisoner or resentence him/her or grant a new trial or correct
  the sentence as may appear appropriate.” 28 U.S.C. § 2255. To
  obtain this relief on collateral review, a petitioner must “clear
  a significantly higher hurdle than would exist on direct appeal.”
  Frady, 456 U.S. at 166 (rejecting the plain error standard as not
  sufficiently deferential to a final judgment).


         Under Section 2255, unless “the motion and the files and
  records of the case conclusively show that the prisoner is entitled
  to no relief,” the court shall “grant a prompt hearing thereon,
  determine the issues and make findings of fact and conclusions of
  law with respect thereto.” However, “if the record refutes the
  applicant’s    factual   allegations       or   otherwise   precludes     habeas
  relief, a district court is not required to hold an evidentiary
  hearing.”    Schiro v. Landrigan, 550 U.S. 465, 474 (2007). See also
  Aron    v.   United   States,    291       F.   3d   708,   715   (11th    Cir.
  2002)(explaining that no evidentiary hearing is needed when a
  petitioner’s claims are “affirmatively contradicted by the record”
  or “patently frivolous”). As indicated by the discussion below, the
  motion and the files and records of the case conclusively show that
  movant is entitled to no relief, therefore, no evidentiary hearing
  is warranted.


         In addition, the party challenging the sentence has the burden
  of showing that it is unreasonable in light of the record and the
  § 3553(a) factors. United States v. Talley, 431 F.3d 784, 788 (11th
  Cir. 2005). The Eleventh Circuit recognizes “that there is a range
  of reasonable sentences from which the district court may choose,”
  and ordinarily expect a sentence within the defendant's advisory
  guideline range to be reasonable. Id.


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                               IV.   Timeliness
        The Antiterrorism and Effective Death Penalty Act (“AEDPA”)
  created a limitation for a motion to vacate. Pursuant to 28 U.S.C.
  § 2255(f), as amended on April 24, 1996, a one-year period of
  limitations applies to a motion under the section. The one-year
  period runs from the latest of:


                (1) the date on which the judgment became
                final by the conclusion of direct review
                or the expiration of the time for seeking
                such review;

                (2) the date on which the impediment to
                filing an application created by State
                action in violation of the Constitution or
                laws of the United States is removed, if
                the movant is prevented from filing by
                such governmental action;

                (3) the date on which the constitutional
                right asserted was initially recognized by
                the Supreme Court, if that right has been
                newly recognized by the Supreme Court and
                made retroactively applicable to cases on
                collateral review; or

                (4) the date on which the facts supporting
                the claim or claims could have been
                discovered through the exercise of due
                diligence.

  28 U.S.C. § 2255(f). See also Bousley v. United States, 523 U.S.
  614, 619-22 (1998) (providing that new substantive constitutional
  rule apples retroactively on collateral review, finding that the
  issue there was the product of statutory interpretation and not
  constitutional determinations that place particular conduct covered
  by a statute beyond the State’s power to punish); Pruitt v. United
  States, 274 F. 3d 1315, 1317 (11th Cir. 2001). The burden of
  demonstrating that the AEDPA’s one-year limitation period was
  sufficiently tolled, whether statutorily or equitably, rests with

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  the movant. See, e.g., Pace v. Diguglielmo, 544 U.S. 408, 418
  (2005) (applying this principle in a section 2254 context); Brown
  v.   United   States,   318    Fed.   App’x   749,   750    (11th    Cir.   2008)
  (applying this principle in a section 2255 context).


        Pursuant to 28 U.S.C. § 2255(f)(1), Movant was required to
  file his section 2255 motion within one year from the time the
  judgment of conviction became final. Although the terms “judgment
  of conviction” and “final” are not defined in § 2255(f), the
  Eleventh Circuit has consistently stated that a “judgment of
  conviction becomes final when the time for seeking that review
  expires.” Murphy v. United States, 634 F. 3d 1303, 1307 (11th Cir.
  2011).


        As Movant did not file a notice of appeal to pursue a direct
  appeal of his conviction and sentence, Movant’s opportunity to seek
  review expired fourteen days after the judgment was entered. See
  Fed. R. App. P. 4(b)(1)(A) (requiring a notice of appeal to be
  filed fourteen days from the date of the judgment in a criminal
  case). Judgement was entered on June 22, 2017. (Cr-DE#72). As such,
  after calculating fourteen days from that date, Movant’s judgment
  of conviction became final on July 6, 2017.


        Movant had one year from the time his conviction became
  “final”    within   which     to   timely   file   this    initial   collateral
  proceeding under § 2255(f)(1). Thus, to be timely, this filing
  should have been filed no later than July 6, 2018. See Downs v.
  McNeil, 520 F. 3d 1311, 1318 (11th Cir. 2008)(citing Ferreira v.
  Sec’y, Dep’t of Corr., 494 F. 3d 1286, 1289 n.1 (11th Cir.
  2007)(explaining this Court has suggested that the limitations
  period should be calculated according to the “anniversary method,”
  under which the limitations period expires on the anniversary of

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  the date it began to run)). The initial pro se motion to vacate was
  filed on February 12, 2018. Thus, the motion to vacate was timely
  filed.


                     V. FACTUAL AND PROCEDURAL BACKGROUND
  A. Factual Background
        The following facts come from the factual proffer Movant
  signed it when pleading guilty. Movant stated during his plea
  colloquy that: (1) he signed it; (2) he read it in its entirety
  before signing it; (3) his attorney explained it to him before he
  signed it; (4) he understood everything his attorney told him about
  it before he signed it; and (5) everything set forth in it is
  truthful     and    accurate.    (Cr-DE#76:14-16).     Accordingly,     the
  underlying facts are as follows:


                   Beginning in the late 1990s, cocaine was
              brought into Haiti from Colombia and other
              locations   in    South   America    by   drug
              traffickers. After the drugs were unloaded in
              Haiti, they were then smuggled into Miami,
              Florida and other locations in the United
              States by vessels and commercial airlines.
              PHILIPPE knowingly used his position as a
              high-ranking Haitian National Police officer
              to provide protection for these shipments of
              drugs and drug proceeds into Haiti in exchange
              for cash payments.

                   Specifically, beginning in or around June
              1999 and continuing until in or around April
              2003, Philippe and others were paid in Haiti
              from the proceeds of the cocaine sales that
              occurred in Miami, Florida and elsewhere in
              the United States. Those bulk-cash proceeds
              would be smuggled from the United States to
              Haiti, and PHILIPPE would be paid a portion of
              the proceeds.

                   PHILIPPE and his wife maintained a joint
              banking account at First Union National Bank

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              in Miami, Florida. Between June 1999 and
              December 2002, PHILIPPE knowingly wired over
              $376,000 in U.S. Dollars derived from the sale
              of cocaine from Haiti and Ecuador to this
              First Union National Bank account under the
              names of other people. PHILIPPE also knowingly
              arranged for over $70,000 in U.S. Dollars of
              drug proceeds to be deposited into the
              account. Each of these cash deposits was made
              in amounts less than $10,000 to avoid the
              reporting requirements.

                   From    approximately   June    1999   to
              approximately April 2003, PHILIPPE received
              more than $1,500,000 and less than $3,500,000
              in bribe payments from drug traffickers,
              knowing that the payments constituted proceeds
              of cocaine trafficking. PHILIPPE shared the
              drug proceeds he collected with Haitian
              National Police officials and other security
              personnel to ensure their continued support
              for future drug shipments arriving in to (sic)
              Haiti; to purchase a residence in Broward
              County, Florida; and to support himself and
              his family in the United States.

                    All in violation of 18 U.S.C. § 1956(h).

  (Cr-DE#64:1-2).


  B. Procedural Background


                              1. The Indictment
        Over a decade ago, on November 22, 2005, a federal grand jury
  indicted Movant with the following offenses: (1) Conspiracy to
  Import Cocaine into the United States in violation of 21 U.S.C. §
  963; (2) Conspiracy to Launder Monetary Instruments in violation of
  18 U.S.C. § 1956(h); and, (3) Engaging in Transactions Derived from
  Unlawful Activity in violation of 18 U.S.C. § 1957. (Cr-DE#3). On
  January 31, 2006, a sealed notice to place Movant on fugitive
  status was docketed. (Cr-DE#5). The indictment was unsealed on


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  January 6, 2017. (Cr-DE#8).


               2. The Pre-Trial Motions and the Omnibus Order
         On February 28, 2017, Movant’s trial counsel filed a Motion to
  Dismiss Indictment for Unreasonable and Unnecessary Post Indictment
  Delay (Cr-DE#36), a Motion to Abate Prosecution Based on Immunity
  as a Foreign State Official (Cr-DE#37), and a Motion to Dismiss for
  Lack    of   Personal         Jurisdiction.     (Cr-DE#38).        The   Government’s
  responses to those pre-trial motions were filed on March 10, 2017.
  (Cr-DE#s 43, 44, 45). Movant’s trial counsel filed replies to those
  Responses. (Cr-DE#s 51, 52, 53). Ultimately, On March 17, 2017, the
  Court issued an Omnibus Order denying all motions. (Cr-DE#57).


                     3. The Plea Agreement and Plea Colloquy
         On April 24, 2017, Movant executed a plea agreement. (Cr-
  DE#63). Therein, Movant agreed to plead guilty to Count 2. (Cr-
  DE#63:1).     In exchange, the Government agreed to seek dismissal of
  Counts 1 and 3. (Cr-DE#63:1).


         The   plea    agreement      contains       an    appeal    waiver.     The    plea
  agreement     specifically        states    that    Movant     “waives     all     rights
  conferred     by    Sections      3742    and   1291     to   appeal     any   sentence
  imposed...or       to    appeal    the    manner    in    which    the   sentence     was
  imposed[.]” (Cr-DE#63:5). It further states that this appeal waiver
  applies “unless the sentence exceeds the maximum permitted by
  statute or is the result of an upward departure and/or an upward
  variance     from       the    advisory    guideline       range    that     the     Court
  establishes at sentencing.” (Cr-DE#63:6). The plea agreement does
  not explicitly state that Movant waives all appeals, including
  those related to his pre-trial motions, by pleading guilty.


         However, it states, in relevant part, that “[t]here are no


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  other agreements, promises, representations, or understandings.”
  (Cr-DE#63:7). The district court held the change-of-plea hearing on
  April 24, 2017. (Cr-DE#76). At the change-of-plea hearing, the
  district court asked Movant about this language:


              THE COURT: Has anyone made to you any promises
              or assurances in exchange for your plea of
              guilty that are not contained in this written
              plea agreement?

              THE DEFENDANT: No, Your Honor.

  (Cr-DE#76:12). Appearing on behalf of the United States, AUSAs Lynn
  Kirkpatrick, Andy Camacho, and Mark Irish were present. On behalf
  of Movant, Movant’s trial attorneys Zeljka Bozanic and Alan Ross
  appeared.


        Movant agreed to conduct the plea colloquy in English because
  he “speaks and understands English” and “prefers to do the plea in
  English.” (Cr-DE#76:4). A Creole interpreter was present and on
  standby to translate any difficult words. (Cr-DE#76:4).3


        Before swearing in Movant, the Court explained as follows:


                   THE COURT: If at any time you do not
              understand any of my questions, please let me
              know, and I will try to clarify the question
              for you. Also, if at any time you would like
              to speak with your attorneys and consult with
              them off the record, let me know that and we
              will pause to give you an opportunity to do
              so.

                    And last, please note that you are under


        3
          Movant clarified at the evidentiary hearing in this proceeding that the
  plea colloquy was translated into Creole for him.


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               oath. All of your answers to my questions must
               be truthful. If they are not, you may be
               subjecting yourself to charges of perjury. And
               do you understand these instructions?

                    THE DEFENDANT: Yes, Your Honor.


   (Cr-DE#76:5).


         Regarding competency, Movant stated that he: (1) went as far
   as college with respect to his education; (2) had never been
   treated for mental illness or for an addition to narcotic drugs;
   (3) had not taken drugs or alcohol in the last forty-eight hours;
   and (4) did not believe he suffered from a physical or mental
   condition preventing him from understanding what was happening in
   the courtroom. (Cr-DE#76:5-6). Defense counsel stated that they
   were satisfied with Movant’s competence to enter a plea. (Cr-
   DE#76:6).


         With respect to trial counsel’s representation, Movant stated
   that he received a copy of the indictment, discussed the indictment
   with his attorneys, and discussed the case in general with his
   attorneys.     (Cr-DE#76:6). Movant also swore that he was fully
   satisfied with his attorneys, their representation, and the advice
   received from them. (Cr-DE#76:6).


         Regarding the voluntariness of his plea, Movant stated that:
   (1) he understood the charge for conspiracy to launder monetary
   instruments; (2) his attorneys went over the indictment, discovery,
   the evidence, and all possible defenses before pleading guilty; and
   (3) no one pressured, forced, or coerced him into pleading guilty.
   (Cr-DE#76:7-8, 12).


         After reviewing provisions of his plea agreement, Movant

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   pleaded guilty. (Cr-DE#76:16). This Court accepted his guilty plea.
   (Cr-DE#76:16). In doing so, this Court found that Movant: (1) was
   fully competent and capable of entering an informed plea; (2) was
   aware of the nature of the charges and the consequences of his plea
   based upon his conversations with his attorneys and the colloquy;
   (3) made a knowing and voluntary guilty plea; (4) made a plea that
   was supported by an independent basis in fact containing each of
   the essential       elements    of   the   offense;   (5) entered         into the
   agreement    voluntarily       and   did   not   endure    force,       threat,   or
   coercion, and (6) received effective assistance of counsel from
   competent counsel. (Cr-DE#76:16).


                                   4. Sentencing
         On   June   21,    2017, the    district     court    held    a   sentencing
   hearing. (Cr-DE#77). The district court observed that the advisory
   guideline recommended a sentence between 108 and 135 months for the
   conduct related to count two. (Cr-DE#77:8). The Government and
   Movant’s    trial       attorneys    recommenced      a    108-month      term    of
   incarceration. The Court sentenced Movant to a term of 108 months
   of imprisonment with a three-year term of supervisory release to
   follow. (Cr-DE#77:8).


         Movant was advised that he had the right to appeal and that
   such an appeal should be filed fourteen days after entry of the
   judgment. (Cr-DE#77:9). The Government then requested a dismissal
   on Counts 1 and 3. (Cr-DE#77:9). The Court did so. (Cr-DE#77:9).
   Judgment was entered on June 22, 2017. (Cr-DE#72). A notice of
   appeal was not filed.


               5. Filing of Instant Section 2255 and Briefing
         Movant instituted the instant section 2255 action on February
   12, 2018. (DE#1). His pro se amended section 2255 motion to vacate


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   was docketed on March 12, 2018. (DE#8). Contemporaneous with that
   amended motion, Movant filed a memorandum in support. (DE#9).


         Therein,    Movant    asserted       three   ineffective-assistance-of-
   counsel claims. Claim one contends that his trial counsel was
   constitutionally ineffective for failing to file a requested appeal
   on his pre-trial motions. Claim two contends that his trial counsel
   was constitutionally ineffective in how the motion to dismiss for
   lack of personal jurisdiction was presented to this Court. Claim
   three contends that counsel was constitutionally ineffective for
   failure to investigate or properly present the motion to dismiss
   for violation of speedy trial rights. And last, underlying all of
   these claims, Movant contends his guilty plea was not knowingly and
   voluntarily entered into.


         On March 19, 2018, the undersigned issued an order appointing
   counsel, setting an evidentiary hearing, and setting a briefing
   schedule as to claim one in Movant’s pro se section 2255 motion.
   (DE#11). The Government’s Response was filed on June 8, 2018.
   (DE#21). Movant’s reply, which was filed with the assistance of
   counsel, was filed on June 25, 2018. (DE#27).


         On July 5, 2018, Movant’s counsel filed what was titled as
   “Objections”     to   the   order     directing    him   to   file   a    pre-trial
   narrative statement. (DE#29). The undersigned construed this as a
   motion for reconsideration. (DE#30). In that construed motion for
   reconsideration, Counsel for Movant asserted that an evidentiary
   hearing   was    needed     on    all     claims   and   presented       additional
   argumentation to the merits of Movant’s claims. (DE#29). Still
   construing    the     filing     as   a   motion   for   reconsideration,       the
   undersigned permitted supplemental briefing. (DE#30). On July 13,
   2018, pursuant to that order, Counsel for Movant opted to file a


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   supplemental brief in support of Movant’s section 2255 motion.
   (DE#31). The Government filed its Response on July 20, 2018.
   (DE#33).
                            6. Evidentiary Hearing
         Before the hearing was held, the parties filed their pretrial
   narrative    statements.   Movant’s     general     statement    of   the   case
   asserted that he mistakenly thought his lawyer had filed an appeal
   on the pre-trial motions when he entered into a plea agreement.
   (DE#32:1). Movant, according to his account, thought his appeal was
   pending when he accepted the plea deal and pled guilty. (DE#32:1).
   The pretrial narrative statement further avers that Movant “became
   aware” that his appeal was not pending after a fellow inmate
   informed him he should have “heard something about his appeal.”
   (DE#32:2).    After   speaking   with      an   attorney   and   hiring     their
   services, “they discovered” that an appeal was not pending and
   concluded that the instant section 2255 action was the sole avenue
   for relief. (DE#32:2).


         The Government’s pre-hearing narrative statement submitted
   that an evidentiary hearing will show that Movant’s trial attorneys
   consulted with Movant about the consequences of his plea. To be
   specific, the Government anticipated showing that Movant understood
   that, by pleading guilty, it would operate as a resolution of the
   case entirely after the pre-trial motions were denied. (DE#34:4-5).
   The Government also asserted that an evidentiary hearing will
   establish that discussions about filing an appeal on the pre-trial
   motions occurred when Movant’s case was still postured to go to
   trial. (DE#34:4). Further, the Government asserted that it would
   show, despite a continued correspondence with trial counsel post-
   sentencing, Movant never mentioned or inquired about an appeal.
   (DE#34:5). Trial counsel was also expected to testify that no one
   on Movant’s behalf contacted her either.            (DE#34:5).


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         The hearing was held on August 28, 2018. During which, six
   witnesses   testified.    AUSAs   Lynn    Kirkpatrick   and    Andy   Camacho
   appeared for the Government. Philip Pitzer appeared for Movant.
   Movant called all six witnesses. The Government called one. Both
   called trial counsel, Ms. Zeljka Bozanic, for direct examination.
   The   Government   presented   eight     exhibits,   which    were    admitted
   without objection.


   a. Summary of Testimonies
                              1. Mr. Mark O’Brien
         Mr. Mark O’Brien testified that he had a client who was a
   cellmate with Movant. Movant, according to Mr. O’Brien’s testimony,
   asked him whether his firm handles appellate issues. Movant also
   asked whether Mr. O’Brien’s law firm could file a notice of appeal
   and whether an appeal had been filed in his case, according to Mr.
   O’Brien’s testimony. Mr. O’Brien explained that he referred the
   matter to Ms. Rachel Reese, another attorney in his law firm.


         During cross-examination, Mr. O’Brien stated that his exchange
   with Movant occurred in August of 2017. Mr. O’Brien, while on the
   stand, conceded to having no knowledge of the discussions that
   Movant had with his attorneys, no knowledge of what happened in
   Movant’s case, and no involvement in the postconviction assessment
   of whether a notice of appeal had been filed in Movant’s case. In
   essence, Mr. O’Brien testified that he merely consulted with Movant
   and then referred him to another attorney in his office.


                              2. Ms. Rachel Reese
         Ms. Rachel Reese testified that she was referred to Movant’s
   case by her law partner. Ms. Reese first spoke with Movant by phone
   in September of 2017. On the stand, she explained that she told


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   Movant that a notice of appeal had not been filed in his case
   during   that   September    2017   conversation.     According    to   her
   testimony, Ms. Reese construed Movant’s reaction to this news as
   “concerned.” Ms. Reese also testified that she prepared a section
   2255 motion on Movant’s behalf and was shocked to discover that
   Movant filed his own pro se version.


         Ms. Reese, during cross-examination, stated that her knowledge
   of Movant’s case was based upon Movant’s account and certain
   documents that had been sent to her from Movant’s wife. She also
   conceded to never speaking with either of Movant’s trial attorneys.


                               3. Mr. Junior Maxi
         Mr. Junior Maxi testified that he is familiar with Movant on
   account of them “growing up together” in Haiti. Upon Movant being
   arrested, Mr. Maxi explained that he contacted Movant’s wife. Mr.
   Maxi also testified that he kept track of Movant’s case throughout
   the proceedings. According to Mr. Maxi’s testimony, during a June
   6, 2017 conversation, he spoke with Movant’s trial counsel, Ms.
   Zeljka Bozanic, about filing an appeal.          Of particular note, in
   order for Mr. Maxi to use the word “appeal” during this testimony,
   the undersigned had to supply him with that word.


         In response to being asked the content of his discussions with
   trial counsel, Mr. Maxi responded that he discussed payment for
   trial counsel’s legal services. Mr. Maxi also explained that he
   told trial counsel not to forget the appeal. According to Mr.
   Maxi’s sworn account, trial counsel responded by telling Mr. Maxi
   that she was no longer Movant’s attorney because the case was over.


         Mr. Maxi stated that this discussion with trial counsel
   occurred after Movant changed his plea and was sentenced. Mr. Maxi


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   also testified that trial counsel was “going to do the appeal event
   like (sic) when the case is over.”


         During cross-examination, Mr. Maxi testified that he had no
   conversations with trial counsel prior to June 6, 2017. Mr. Maxi
   also conceded that he was not present in any meetings between
   Movant and trial counsel.


         While under cross-examination, Mr. Maxi stated that he spoke
   with Movant about an appeal before the sentence. Mr. Maxi also
   testified that the appeal was supposed to be filed before the
   sentence. When the Government asked how Mr. Maxi knew it was
   supposed to be filed before the sentence, Mr. Maxi explained
   “[b]ecasue he tells me.”


         Mr. Maxi was then asked whether he had any understanding of
   what issues needed to be appealed. Mr. Maxi replied that Movant was
   “going to appeal the case because he is going to plead not guilty.”


         Towards the end of cross-examination, the Government clarified
   the record by having Mr. Maxi admit that he spoke with trial
   counsel on June 6, 2017 and on June 8, 2017. On the stand, Mr. Maxi
   admitted that the first time he spoke with Movant about his appeals
   was after Mr. Maxi spoke with trial counsel. In attempting to
   solidify this point, the Government inquired about the first time
   Mr. Maxi spoke with Movant about Movant’s appellate issue.              Mr.
   Maxi testified that it was “after the sentence.” In response to
   being asked whether he recalled the sentencing date, Mr. Maxi
   admitted that he did not.




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                              4. Mrs. Natalie Philippe
         Mrs.    Natalie      Philippe    is    Movant’s     wife.    She   lives    in
   Milwaukee, Wisconsin and has been married to Movant for over
   twenty-one years. Based upon a referral, she contacted Movant’s
   trial counsel,       Ms.    Zeljka    Bozanic,   to     appear    with   him.    Mrs.
   Philippe testified that she spoke with trial counsel about fees and
   what could happen, including the potential filing of pretrial
   motions. A verbal fee agreement was created for a flat rate of
   $50,000, according to Mrs. Philippe’s testimony. Mrs. Philippe also
   explained that Movant’s second trial attorney, Mr. Alan Ross, was
   unofficially part of the litigation team during the drafting of the
   pretrial motions.


         Mrs. Philippe testified that she relayed messages to both of
   Movant’s trial attorneys of Movant’s desire to appeal “right after
   [they] found out” the pretrial motions were denied. The attorneys
   responded that they would speak with Movant about how to proceed
   with the appeals, according to Mrs. Philippe’s testimony.


         Still under direct examination, Mrs. Philippe testified that
   she   spoke   with   Movant’s    attorneys       about    the     negotiated    plea
   agreement. She did not recall whether either attorney explained
   that accepting the plea deal would terminate Movant’s opportunity
   to appeal. According to Mrs. Philippe, Movant appeared “angry” upon
   discovering that an appeal had not been filed. She averred on the
   stand that Movant appeared “devastated” about being misinformed.
   Mrs. Philippe does not know whether anyone contacted Movant’s trial
   attorneys upon discovering that an appeal was not pending. When
   asked why Movant did not contact his attorneys upon discovering
   that an appeal was not pending, Mrs. Philippe testified to Movant’s
   character trait of being “finished” with persons that do not do
   their job.


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         Under cross-examination, the Government drew out testimony in
   order to raise questions about Mrs. Philippe’s motives to testify
   in Movant’s favor in this proceeding. In particular, the Government
   drew out testimony about Mrs. Philippe’s marriage to Movant and the
   courtship    that   preceded      their    marriage.   Mrs.    Philippe    also
   testified   that    the   first    conversation    about      Movant’s    appeal
   initiated after the pretrial motions were denied. Mrs. Philippe
   testified that she was personally present during a conversation
   between Movant and Ms. Bozanic in January of 2017. She admitted to
   never being present during any conversations between Movant and
   Movant’s other trial attorney, Mr. Alan Ross. In addition, Mrs.
   Philippe explained that she relayed messages to Movant’s trial
   attorneys every time Movant contacted her. Mrs. Philippe could not
   recall the last time she communicated with trial counsel.


         Still under cross-examination, Mrs. Philippe estimated that
   Movant discovered that an appeal was not filed “after the plea.” On
   re-direct, Mrs. Philippe testified that she never discussed the
   terms of the plea agreement with her husband. Presumably attempting
   to clarify the time line of Mrs. Philippe’s testimony, Movant’s
   counsel inquired whether Mrs. Philippe recalled that Movant’s trial
   attorneys were involved during the sentencing phase. Under oath,
   she recalled this fact and explained that, from her perspective,
   the events were “all jumbled together.”


                        5. Mr. Guy Philippe - Movant
         Movant testified that he was born in Haiti and was educated.
   With respect to his education, Movant explained that he studied
   chemistry at the University of Mexico for some time and left that
   university to pursue his studies at a military academy in Ecuador.
   During his time at the military academy in Ecuador, Movant studied
   law. Movant also spent considerable time testifying to matters


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   surrounding his reputation as a political figure in Haiti.


         Movant testified that his trial counsel, Ms. Bozanic, was
   present at court appearances with him since the initial appearance.
   Movant explained that the two of them discussed the legality and
   constitutionality of his being brought to this country. From
   Movant’s perspective,      the   criminal   proceeding    was   politically
   motivated.


         Under   direct    examination,     Movant    also    explained    his
   understanding of the pretrial motions that were filed in his case.
   Movant acknowledged that this Court denied his pretrial motions. He
   testified to his understanding that he had approximately fourteen
   days to appeal the order denying those pretrial motions.


         While still under direct examination, Movant was asked whether
   he mentioned an appeal after the pretrial motions were denied. He
   testified that “each time” that he spoke to his attorneys he
   discussed the appeal of his pretrial motions. Movant also averred
   that he relayed messages through his brother and wife that the
   appeal must be timely filed. According to Movant’s testimony, his
   attorneys always told him not to worry about the filing of an
   appeal. Movant testified that he accepted his plea agreement while
   under the belief that his appeal on the pretrial motions was still
   pending.


         Under oath, Movant stated that his attorneys reviewed the plea
   agreement with him. When asked whether he was informed that he
   would be waiving his right to appeal his pretrial motions, Movant
   avers that his attorneys never discussed the pretrial motions.
   Movant recalled that the language in the plea agreement contained
   a waiver of his right to appeal. However, with respect to whether


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   any language in the plea agreement indicated to him that he was
   waiving his right to appeal the pretrial motions, Movant did not
   directly answer the question. Instead, he testified that his trial
   counsel   told   him   that   the   appellate   waiver   only   related   to
   sentencing issues. In the beginning of July of 2017, according to
   his testimony, Movant first learned that an appeal on his pretrial
   motions was not filed. According to Movant, upon having Ms. Reese
   confirm that no appeal had been pursued by his trial attorneys, he
   concluded that his attorneys were “working for both sides.” Based
   on that belief, Movant decided to use a different attorney.


         Under cross-examination, Movant explained that he was unable
   to access court records from the jail. Movant also testified that
   he did not rely upon the accounts of his wife or Mr. Maxi, as they
   did not have an understanding of how the law operates. Movant swore
   that he saw the indictment against him, but did not understand how
   much time he was facing for the individual charges.


         While still under cross-examination, Movant stated that he
   understood all that was told to him at his change-of-plea hearing.
   Upon being asked whether Movant recalled being asked that his plea
   agreement waived his right to appeal, Movant did not answer the
   question. Instead, he testified that his trial counsel told him
   that he was waiving sentencing issues by pleading guilty and
   averred to his belief that the pretrial motions had already been
   filed. The Government again asked Movant if he recalled what the
   Court said to him about his appellate waiver. Again, Movant did not
   answer the question and deferred to the alleged advice given to him
   by his trial attorneys.


         The Government continued with this line of questioning by
   addressing whether Movant recalled other provisions in the plea


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   agreement that were communicated to him at the change-of-plea
   hearing. Movant’s responses did not answer whether he recalled
   those provisions. Movant deferred back to his understanding that
   the   appeal   of   his   pretrial   motions   had   already   been   filed.
   Thereupon, the Government inquired whether Movant articulated his
   belief to the Court. Movant testified that he was not advised that
   he needed to do so. According to Movant, he did not ask for
   clarification on the appellate issue because his level of English
   comprehension comported with what he was being told. The Government
   asked whether a translator was translating English into Creole.
   Movant conceded this as true. However, according to Movant, the
   translator kept using the word “sentence,” implying that the word
   “appeal” was never used during the translation.


          Movant testified that it had been more than a year since he
   spoke to his trial counsel directly. All other communication, from
   what Movant recalled on the stand, was most likely conducted
   through a third party after the sentencing proceeding.


                   6. Ms. Zeljka Bozanic - Trial Counsel
         Ms. Bozanic testified that she entered into a verbal agreement
   to represent Movant. Movant and his family never signed a written
   agreement that had been drafted. The terms were $60,000 if the case
   did not go to trial. If the case went to trial, trial counsel would
   charge $100,000. Ms. Bozanic testified that Movant’s wife paid a
   down payment of $5,000. Mr. Maxi, sent her $3,500. Beyond that, she
   was not paid the difference of the sum agreed upon.


         Ms. Bozanic testified that they had considered filing an
   interlocutory appeal after the pre-trial motions were denied. She
   explained, under oath, that the strategy was to proceed with trial
   at that juncture. Both of Movant’s trial attorneys, according to


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   Ms. Bozanic, decided that any appeal would be filed after trial to
   avoid delaying Movant’s trial date.


         Upon    reviewing     discovery         provided      by     the   Government,
   additional hurdles faced Movant, according to Ms. Bozanic. She
   explained that the discovery materials made it difficult to refute
   one count because bank records from many years ago were no longer
   obtainable. Further, according to Ms. Bozanic’s testimony, there
   were also matters that Movant did not want surfacing at trial.


         Once    the   negotiated    plea    deal      was    reached,      Ms.   Bozanic
   recalled her and her co-counsel going over the terms of the plea
   agreement. She had no recollection of Movant having any questions.
   Movant’s trial attorneys, as Ms. Bozanic testified, went paragraph
   by paragraph through the plea deal with Movant. Ms. Bozanic also
   did   not    recall   whether    Movant       had   any    questions     during   the
   colloquy. She deferred to the hearing’s transcript. Ms. Bozanic
   testified that she continued a correspondence with Movant even
   after sentencing.


         According to her testimony, Ms. Bozanic stated that Movant was
   involved in the decision to plead guilty.                 Ms. Bozanic stated that
   she never discussed the appeal of the pre-trial motions after the
   change-of-plea hearing. In her testimony, Ms. Bozanic expressed
   that Movant knew there was nothing pending after the change-of-plea
   hearing and that Movant was informed his plea ended the criminal
   proceeding     in   its   entirety.   Upon      being      asked    whether    Movant
   inquired about an appeal after the change-of-plea hearing, Ms.
   Bozanic testified that Movant did not. She added that “we went over
   the appellate waiver” to explain that he would be giving up his
   right to appeal the motions in exchange for the plea deal. In
   addition, after being asked whether Movant inquired about an appeal


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   after the sentencing proceeding, Ms. Bozanic testified that Movant
   did not do so.


         Ms. Bozanic further testified that she received multiple e-
   mails and other written forms of communication from Movant. None
   mentioned his appeal on the pre-trial motions. Similarly, Ms.
   Bozanic testified that she received communications from Movant’s
   family members; However, none mentioned the filing of an appeal.
   With respect to Movant’s wife, Ms. Bozanic only recalled an e-mail
   about Movant’s conditions of confinement. Specific to Mr. Maxi, Ms.
   Bozanic testified that she never talked about Movant’s case with
   Mr. Maxi, as she viewed Mr. Maxi’s English-proficiency to be
   limited.


         The Government also introduced a letter sent by Movant to Ms.
   Bozanic, admitted as Exhibit 8. The letter, dated January 2, 2018,
   was read into evidence by Ms. Bozanic and reads as follows:


               Hi Zeljka,

               How are you? I hope you had wonderful
               holidays. I’m okay trying to survive. Thanks
               for the documents. I’d like you to send the
               bank statements and “checks” if it [is]
               possible. I really need them. I also need a
               copy of the medal [sic] (secretary of
               defense)[.]

               Thanks & Happy new year[,]

               Guy Philippe

         The Government asked Ms. Bozanic whether this letter mentioned
   an appeal. Ms. Bozanic replied, “no.”




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   b. Credibility Assessment
                            1. Movant’s Credibility
         Overall, Movant’s account is not credible. Movant testified
   that he pled guilty while under the assumption that he would not be
   waiving an appeal of his pre-trial motions. In support, as he
   testified, Movant avers that he believed the appeal on his pre-
   trial motions were pending as an interlocutory appeal. To his
   credit,   the   plea    agreement    and       the    plea   colloquy   does   not
   explicitly reflect that he would be waiving an appeal on his pre-
   trial motions. Additionally, his wife and trial counsel agree that
   an appeal was discussed immediately after the pre-trial motions
   were denied. However, this alone is not enough to render Movant
   credible on the material issues in this proceeding.


         Movant’s testimony exhibited a deliberate effort to dodge the
   truth. Movant’s responses were evasive about the most basic of
   questions that relate to the underlying issue in this proceeding.
   For instance, Movant never directly answered the Government’s
   question whether he recalled the appellate waiver. Instead, he
   directed this Court’s attention to his allegation that his trial
   counsel did not tell him of the appellate waiver as to the pre-
   trial motions. From the undersigned’s observations and the content
   of his responses, Movant’s evasive demeanor indicates his testimony
   lacks some credibility.


         At the evidentiary hearing, Movant conceded that he never
   alerted his trial attorney about her alleged failure to file an
   appeal. According to Movant, he decided against reaching out to his
   trial attorneys because he decided they were working for “both
   sides.”    Movant,     according    to        his    testimony,   confirmed    his
   suspicions that his trial attorneys had not filed an appeal in July
   of 2017. Of particular interest, the letter Movant sent to his


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   trial attorney, dated January 2, 2018, makes no mention of an
   appeal nor reflects the attitude of a disgruntled client merely
   seeking requested document. As Movant’s amiable letter was sent
   months after he allegedly confirmed that his trial attorneys were
   working   for    “both      sides,”     Movant’s      purported     excuse   for    not
   contacting his trial attorney lacks credibility.


         There are also several inconsistencies between what was stated
   at the change-of-plea hearing and Movant’s insistence that he
   silently believed his appeal was pending. Movant is an astute,
   political figure in Haiti. He is a Haitian senator and studied law.
   These are facts Movant drew out at the evidentiary hearing. At the
   change-of-plea hearing, the following exchange transpired:


                    THE COURT: Do you understand by pleading
               guilty, you give up all of these rights we
               associate with trial as well as with appeal?

                        [MOVANT]: Yes, Your Honor.

   (Cr-DE#76:14).        Given        Movant’s       educational     and   professional
   background, it is highly unlikely that the broad appellate waiver
   expressed to Movant at the change-of-plea hearing would not alert
   him that an appeal might not be pending or might not follow.


         Conveniently, Movant testified that he was unaware that he
   should alert the Court of any such questions. Again, Movant’s
   educational and professional background renders it implausible that
   he would not ask a question related to an appeal of the pre-trial
   motions if      he    had   one or      if    he    wanted to     pursue   one.    More
   importantly, Movant’s assertion that he was unaware that he could
   alert the Court of any questions lacks credibility in light of the
   Court’s   instruction         to    him.     During    that     hearing,   the    Court
   instructed as follows:


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               If at any time you do not understand any of my
               questions, please let me know, and I will try
               to clarify the question for you. Also, if at
               any time you would like to speak with your
               attorneys and consult with them off the
               record, let me know that and we will pause to
               give you an opportunity to do so.

   (Cr-DE#76:5). As such, Movant’s assertion that he did not know to
   alert the Court or his attorneys of this question is spurious.


         Somewhat     cunningly,     at   the    evidentiary     hearing,     Movant
   testified that he could not ask for clarification on the appellate
   issue during the proceeding because his level of English was
   limited. In this proceeding, Movant testified at the evidentiary
   hearing with the assistance of a Creole interpreter. Movant’s
   assertion that he did not understand English is a smokescreen for
   the truth. As shown by the record, Movant—through his attorney—
   selected    to    conduct   the   change-of-plea      proceeding     in   English
   because    he    “speaks    and   understands      English”   and   because   he
   “prefer[red] to do the plea in English.” (Cr-DE#76:4). Further, a
   Creole interpreter was present and ready to translate if ever a
   difficult word appeared during the change-of-plea hearing. (Cr-
   DE#76:4). Moreover, at the evidentiary hearing, Movant admitted
   that there was someone translating in Creole at the change-of-plea
   proceeding. Because Movant had a Creole interpreter and selected to
   make his own statements in English, it is unlikely that he felt
   unaware of his ability to have questions answered or clarified.


         Further, while all litigants necessarily harbor a motive to
   construct a favorable narrative for themselves, only some act upon
   that motive by way of lying. Here, Movant previously selected to
   conduct the colloquy in English due to his purported preference to
   do   so.   In    this   proceeding,    he    now   swears   that    his   English
   comprehension was so poor he could not understand that proceeding

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   even though a translator was present. Viewed together, Movant
   exhibited that he is willing to lie or make material omissions
   under oath in order to construct his favorable narrative.4


         In addition, one could draw a reasonable inference that Movant
   purposefully chose to conduct his change-of-plea proceeding in
   English so that he could later feign ignorance. This is not to say
   that every section 2255 litigant asserting they did not understand
   English at the colloquy would warrant the drawing of such an
   inference.    Rather,    such   an    inference       is    appropriate   in    this
   particular case because of Movant’s educational and professional
   background, his evasive responses to simple questions, and his
   demonstrated willingness to lie or make material omissions under
   oath.


         Another inference can be drawn with respect to Movant’s
   purported    reason    for   not     alerting   his        trial   attorney    after
   purportedly     discovering     an    appeal    had    not     been   filed.5    The
   inference is that Movant understood his trial counsel would have
   mailed a written response memorializing that he was explicitly told
   that no such appeal would follow. Of course, such a response would
   have been sent to Movant before the filing of a section 2255
   motion, which arguably would have weakened Movant’s credibility.
   Given Movant’s educational and professional background, and his
   demonstrated pattern of stretching the truth, the undersigned finds
   such an inference more reasonable than the peculiar excuse supplied


         4
           At the evidentiary hearing, Movant stated that the translators were
   merely translating the words “sentence, sentence,” implying that the translators
   did so when they should have translated the Creole word for “appeal.” It is
   highly improbable that Court translators would err in their translation of a word
   that surfaces in this Court on a daily basis.
         5
           In support of reaching this inference regarding Movant’s excuse, it is
   important to note that Movant’s speculation that trial counsel was working for
   “both sides” was not a reasonable conclusion.

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   by Movant (i.e. counsel working for “both sides”).


         Finally, Movant’s assertions as to what counsel advised him
   about his guilty plea reveal his testimony contains a certain lack
   of reliability. At the hearing, Movant insisted that his trial
   attorney    told   him   that   the   plea   of   guilty   only   applied    to
   sentencing issues. It is practically hornbook law that the entry of
   a guilty plea waives all non-jurisdictional errors, meaning guilt
   phase issues are waived as well. See, e.g., United States v. Patti,
   337 F. 3d 1317, 1320 (11th Cir. 2003). Given that Ms. Bozanic is an
   experienced criminal defense attorney, it is highly unlikely that
   Ms. Bozanic would have misstated such an axiomatic legal principle.
   Rather, it is more reasonable to draw an inference that Movant
   makes this assertion to inflate his purported mistaken belief of an
   already-filed appeal. Movant’s lack of credibility in other areas
   further justifies drawing this inference.


                         2. Mark O’Brien’s Credibility
         Mr. O’Brien’s testimony simply related to Movant’s questions
   about his appeal. Responsibly, Mr. O’Brien told Movant that he had
   no knowledge of his case, so he could not answer whether an appeal
   was pending. Because Mr. O’Brien and his firm had no involvement
   with Movant until on or about August 6, 2017, the firm had no
   knowledge of the discussions between trial counsel and Movant. Nor
   would it have any knowledge of the discussions with the Government.
   Thus, while the Court respects Mr. O’Brien’s willingness to appear
   and testify, it cannot be said that Mr. O’Brien’s knowledge of this
   case is relevant to the issues in this case.6


         6
           To the extent Movant relies upon him asking Mr. O’Brien to look into his
   appeal as evidence that he believed an appeal was pending, an equally reasonable
   inference is that Movant purposefully spoke with an attorney in order to later
   construct a favorable narrative. Movant’s lack of credibility would justify the
   reasonableness of such an inference over the inference Movant appears to invite
   this Court to draw.

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                             3. Ms. Reese’s Credibility
         Ms. Reese’s contribution was informing Movant that an appeal
   had not been filed in his case. She testified that she construed
   Movant’s response to being informed that an appeal had not been
   filed as “concerned.” This occurred in September of 2017.


         Although Ms. Reese may have had a good faith belief that
   Movant appeared “concerned,” Ms. Reese’s testimony is not credible
   for the     purposes      of supporting       an   inference that    Movant   was
   surprised, upset, or concerned by the fact his appeal was not
   pending. Indeed, Ms. Reese acknowledged that her understanding of
   this case is limited to what the filings in the docket show, some
   undisclosed documents received from Movant’s wife, and Movant
   himself. None of those sources could generate personal knowledge of
   the oral communications between Movant and trial counsel.7


                             4. Mr. Maxi’s Credibility
         Mr. Maxi stated that Movant wanted to appeal so that Movant
   could plead not guilty, which directly conflicts with Movant’s
   guilty plea. In addition, Mr. Maxi testified that the first time he
   spoke     with   Movant    about   the   appellate     issue   was   “after   the
   sentence.” Curiously, Mr. Maxi also testified that the first time
   he spoke with Movant about an appeal was “before the sentence.” Mr.
   Maxi also testified that he did not recall the date of sentencing.
   He also did not volunteer an approximate date of sentencing.
   Because Mr. Maxi does not appear to have a sufficient understanding
   of procedural events in the underlying criminal case, his testimony
   as to the time line of events is not credible.


         7
           To the extent Movant would rely upon the fact that he hired Ms. Reese to
   look into whether an appeal was pending as evidence that he did not know an
   appeal was pending, an equally reasonable inference is that Movant paid for legal
   services in order to later construct a favorable narrative. Movant’s lack of
   credibility would justify the reasonableness of such an inference over the
   inference Movant appears to invite this Court to draw.

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         Another issue, because Mr. Maxi testified that Movant was
   going to appeal so that he could later plead not guilty, it does
   not seem that Mr. Maxi sufficiently understood the legal issues in
   the criminal case. Consequently, it cannot be said that Mr. Maxi is
   a   credible    witness    as   to   any    issue    surrounding     Movant’s
   understanding of the plea agreement.


         To the extent Mr. Maxi’s testimony is capable of justifying an
   inference that Movant thought his appeals were pending when he pled
   guilty or would be filed after pleading guilty, the inference is
   not warranted. Mr. Maxi was not present in discussions with trial
   counsel and Movant. Mr. Maxi also shares close ties with Movant,
   revealing some motive to testify favorably. Further bolstering this
   point, as trial counsel testified, she would not have discussed
   legal issues with Mr. Maxi based on her perception of Mr. Maxi’s
   English-proficiency.8 Accordingly, Mr. Maxi’s testimony is entirely
   incredible.


                        5. Mrs. Philippe’s Credibility
         Mrs. Philippe’s testimony was clear.          She is credible to the
   extent that she forwarded an email about appealing the denial of
   the pretrial motions when those motions were denied. However, Mrs.
   Philippe is not credible on other issues.


         She testified that her husband stopped all communication with
   trial counsel after the plea of guilty. As she put it, Movant was
   “finished” with trial counsel. On redirect, Counsel for Movant then
   tried to have Mrs. Philippe testify that Movant cut ties with trial



         8
           During the hearing, the Government stopped Mr. Maxi’s testimony to
   suggest a Creole interpreter on the basis that it had some difficulty
   “understanding some of the words” used by Mr. Maxi. This arguably comports with
   trial counsel’s decision to not discuss legal matters with Mr. Maxi despite his
   close ties to Movant.

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   counsel after sentencing, not after the guilty plea. She testified
   as much. Thereupon, Mrs. Philippe also added that the guilt phase
   and   sentencing     phase   were   “all        jumbled   together”    to   her.
   Consequently,      her   ability    to        delineate   critical    procedural
   junctures is not reliable. This is a small inconsistency affecting
   her credibility.


         However, this small inconsistency in her understanding of the
   procedural events demonstrates a larger inconsistency overall. To
   be exact, Mrs. Philippe’s testimony that Movant cut ties with trial
   counsel upon discovering an appeal was never filed does not comport
   with the fact that Movant continued a written correspondence with
   trial counsel as late as January 2, 2018—an undisputed fact.


         More importantly, although Mrs. Philippe testified that Movant
   was “angry” upon discovering his appeal was not pending, her
   testimony does not mention any action she took upon discovering
   this perceived error. Surely, if she or her husband were caught off
   guard by trial counsel not filing an appeal, interlocutory or
   otherwise, Mrs. Philippe would have contacted trial counsel to
   complain. In fact, during her testimony, Mrs. Philippe suggested
   that she had contacted Movant’s trial attorneys throughout the
   proceedings. Her demonstrated rapport with Movant’s trial attorneys
   indicates that, if she or her husband were caught off guard by the
   failure to file an appeal, she likely would have alerted them of
   any perceived error. As her testimony does not indicate any such
   action occurred on her part, her lack of action weakens her
   credibility as a witness on critical issues. Finally, because Mrs.
   Philippe shares close ties with Movant as his wife, it also
   indicates a motive to testify favorably for him.


         As a result, Mrs. Philippe is credible to the extent that she


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   forwarded an email when the pre-trial motions were denied. But she
   is not credible as to any inference that can be drawn regarding her
   husband’s alleged understanding that an interlocutory appeal was
   pending when he pled guilty. Nor is Mrs. Philippe credible as to
   any inference that can be drawn with respect to whether Movant
   understood an appeal would follow after pleading guilty.


                            6. Ms. Bozanic’s Credibility
         At the hearing, Ms. Bozanic’s testimony provided a linear,
   consistent account as to the relevant events. This renders Ms.
   Bozanic a substantially credible witness in this proceeding.


         Ms. Bozanic testified that she and Movant’s other trial
   attorney,    Mr.    Alan     Ross,     initially       considered    filing      an
   interlocutory appeal on the denial of Movant’s pre-trial motions.
   Both trial attorneys decided on not filing an appeal because of a
   strategy to proceed to trial and file an appeal afterwards in the
   event of an unfavorable outcome. Th main concern with filing an
   interlocutory appeal, as Ms. Bozanic testified, was waiving a
   speedy trial claim and the cost of hiring an additional attorney.
   Ms. Bozanic stated that Movant was part of those discussions in
   forming this strategic decision. If true, it undermines Movant’s
   claim that he did not know an interlocutory appeal had not been
   filed. Based on her testimony that Movant’s family never fully paid
   her fee retainer and Movant’s lack of credibility overall, Ms.
   Bozanic’s testimony is credible. Specifically, her testimony is
   credible    for    the    purposes     of    showing    that   Movant     knew   an
   interlocutory appeal would not be filed.


         Ms. Bozanic also testified that Movant was told there was
   “nothing pending” in his case when he pled guilty. Movant’s trial
   attorneys,   according      to   Ms.   Bozanic’s       sworn   account,   further


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   advised Movant that upon pleading guilty “that was it.” Movant, as
   Ms. Bozanic testified, knew he was “giving up his right to appeal
   the motions and anything in exchange for the plea that he was
   getting.” Ms. Bozanic’s testimony is credible to this point as
   well. Consequently, Movant knew that no appeals were pending when
   he accepted his plea deal and that there was no plan to file an
   appeal after pleading guilty.


         In addition, Ms. Bozanic testified that Movant never made a
   comment regarding an appeal after he accepted the plea agreement.
   Ms. Bozanic explained that she met with Movant before the sentence
   was imposed. She also described a continued correspondence with
   Movant after the judgment was entered. Bolstering Ms. Bozanic’s
   testimony, the written letter, dated January 2, 2018, shows the
   existence of a written correspondence and Movant still never
   mentioning a perceived error with respect to the filing of an
   appeal. As such, the undersigned finds Ms. Bozanic credible on this
   point. Thus, Ms. Bozanic never discussed the prospect of filing an
   appeal after the change-of-plea hearing and after the sentencing
   date because Movant never discussed an appeal.


         Ms. Bozanic testified to the reasons driving the change in
   strategy   from   proceeding   to   trial   to   a   plea   of   guilty.   She
   explained that they would be unable to defend against the charges
   related to money laundering because bank records could not be
   obtained. She also testified that there were matters that Movant
   did not want surfacing at trial. During her testimony, Ms. Bozanic
   also explained that the plea agreement was “a very good deal [for
   Movant] considering that he avoided life [imprisonment].” The
   underlying criminal record supports that Movant could have been
   sentenced to life imprisonment. Thus, Ms. Bozanic is credible on
   this point as well.


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               7. Summary of All Credibility Determinations
         In   sum,   the   undersigned    finds   the   following   testimony
   incredible:


         - Movant’s testimony that he believed an interlocutory appeal
   would be filed and was unaware his attorneys decided not to do so.


         - Movant’s testimony that his trial attorneys never told him
   about his plea being conditioned upon him not filing any appeals.


         - Movant’s testimony that his trial attorney told him his plea
   agreement and guilty plea only waived sentencing issues.


         - Movant’s testimony that he never alerted his trial attorneys
   about the perceived error (i.e. not filing an appeal) because
   Movant earnestly believed they were working for “both sides.”


         - Movant’s testimony that he had no indication that an appeal
   was not pending or might not follow while at the change-of-plea
   hearing.


         - Movant’s testimony that he did not know he could ask the
   Court questions at the change-of-plea hearing.


         - Movant’s testimony that he did not understand the colloquy
   at the change-of-plea hearing.


         - Movant’s testimony that he had no indication that an appeal
   was not pending or might not follow after the change-of-plea
   hearing, after sentencing, or after judgment was entered.


         - Mr. O’Brien’s testimony as to any material issue in this


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   proceeding, including but not limited to any inference that could
   be drawn about Movant’s credibility as to his belief an appeal was
   pending after judgment was entered.


         - Ms. Reese’s testimony as to any material issue in this
   proceeding, including but not limited to any inference that could
   be drawn about Movant’s credibility as to his belief an appeal was
   pending    after judgment was entered.


         - Mr. Maxi’s testimony as to any material issue in this
   proceeding, including but not limited to any inference that could
   be drawn about Movant’s credibility as to his belief an appeal was
   pending at any point before or after judgment was entered.


         - Mrs. Philippe’s testimony as to almost all material issues
   in this proceeding, including but not limited to any inference that
   could be drawn about Movant’s credibility as to his belief an
   appeal was pending at any point before or after judgment was
   entered.


         In addition to those determinations, the undersigned finds the
   following testimony credible:


         - Mrs. Philippe’s testimony that she forwarded an email about
   the appeal when the pre-trial motions were denied.


         -   Ms.   Bozanic’s   testimony    that   Movant   was   part   of   the
   discussions in deciding not to file an interlocutory appeal.


         - Ms. Bozanic’s testimony that Movant was told acceptance of
   the plea agreement and entering his guilty plea meant waiving all
   future appeals, including those related to his pre-trial motions.


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         - Ms. Bozanic’s testimony that Movant never mentioned the
   filing of an appeal at any point after the change-of-plea hearing.


         - Ms. Bozanic’s testimony that all correspondence she received
   from Movant or his family after the change-of-plea hearing did not
   relate to the filing of an appeal on the pre-trial motions.


         - Ms. Bozanic’s testimony that she thought the plea agreement
   was quite favorable in light of the more onerous sentence that
   could have been imposed.


                                VI. DISCUSSION
   A. Ineffective Assistance for Failure to File an Appeal and the
   Validity of Movant’s Guilty Plea
        Movant contends his trial counsel failed to file a requested
   appeal or otherwise failed to consult with him. (DE#8:4). In a
   supplemental brief, Counsel for Movant argued that the plea of
   guilty was not voluntarily entered into as a result of Movant’s
   mistaken belief that an appeal was pending. (DE#31:2).


        1. Guilty Plea was Knowingly and Voluntarily Entered Into
         To conform with due process principles, a guilty plea must be
   knowingly and voluntarily made. United States v. Moriarty, 429 F.
   3d 1012, 1019 (11th Cir. 2005). Under Fed. R. Crim. Proc. 11,
   district courts must verify whether the plea is free from coercion,
   the defendant understands the nature of the charges, and the
   defendant understands the consequences of their plea. Id. There is
   a presumption that sworn statements made during a plea colloquy are
   true. United States. v. Medlock, 12 F. 3d 185, 187 (11th Cir.
   1994).


         After reviewing the transcript of the change-of-plea hearing
   and Movant’s sworn responses, Movant has not carried his burden in

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   showing that his guilty plea was not voluntarily entered into. With
   respect to whether coercion existed, Movant swore that he was not
   facing pressure or coercion to plead guilty. (Cr-DE#76:12).


         With respect to understanding the nature of the charges
   against him, the plea agreement shows that Movant acknowledged that
   the   Court   could   have   imposed   a    sentence   of   twenty   years   of
   incarceration followed by three years of supervisory release, as
   opposed to the 108-month sentence of incarceration he received.
   (Cr-DE#63). At the change-of-plea hearing, Movant also acknowledged
   that he reviewed the indictment and discussed possible defenses
   with his trial attorney, and reviewed the evidence against him.
   (Cr-DE#76:8). Movant swore that he was pleading guilty because he
   was in fact guilty and that the Government would be able to
   establish     the   elements   of   the     crime.   (Cr-DE#76:12-14).       The
   pertinent facts were then read aloud as articulated in the Factual
   Proffer. (Cr-DE#76:14-15). Finally, the penalty sheet attached to
   the indictment shows that Movant could have been alerted that he
   was facing life imprisonment. (Cr-DE#3:7).


         As to whether he understood the consequences of his plea,
   Movant agreed that he would be giving up all rights associated with
   trial as well as with appeal. (Cr-DE#76:14). In sum, consistent
   with the Court’s finding, Movant’s plea of guilty was knowing and
   voluntary. (Cr-DE#76:16).


         An additional matter must be addressed, however. Counsel for
   Movant heavily relies upon United States v. Copeland, 381 F. 3d
   1101, 1105 (11th Cir. 2004) to suggest that Movant’s plea was not
   knowingly and voluntarily entered into. In essence, Counsel for
   Movant submits that Copeland authorizes defendants to raise an
   appeal not explicitly prohibited in a plea agreement. That is an


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   inaccurate articulation of Copeland, however.


         In Copeland, the Eleventh Circuit concluded that a plea
   agreement suffered from ambiguity caused by omission of a term,
   which both parties conceded rendered the term ambiguous. The
   Eleventh Circuit decision in Copeland articulates a standard of
   review when such ambiguity is alleged. “In determining the meaning
   of any disputed terms in an agreement, courts must apply an
   objective    standard       and   ‘must     decide    whether        the    government’s
   actions    are    inconsistent       with      what   the     defendant       reasonably
   understood when he entered his guilty plea.’” United States v.
   Copeland, 381 F.3d 1101, 1105 (11th Cir. 2004) (quoting In re
   Arnett,     804   F.   2d    1200,    1202-03         (11th    Cir.        1986)).   When
   interpreting       plea     agreements,         courts        “do     not     accept   a
   ‘hyper-technical reading of the written agreement’ or ‘a rigidly
   literal approach in the construction of the language.’” Copeland,
   381 F. 3d at 1105 (quoting United States v. Jefferies, 908 F. 2d
   1520, 1523 (11th Cir. 1990)). Rather, “[t]he written agreement
   should be viewed against the background of the negotiations and
   should     not    be   interpreted        to    directly      contradict        an   oral
   understanding.” Copeland, 381 F. 3d at 1105 (alternations in
   original    and    internal       quotations      omitted)          (emphasis    added).
   Therefore, if and only if the term is ambiguous, courts consider
   parol evidence to interpret that ambiguous term. Copeland, 381 F.
   3d at 1105-06.


         Put contextually, this is a two-step inquiry. Copeland, 381 F.
   3d at 1106. The first step examines whether or not the disputed
   term is ambiguous. Id. If so, federal courts “consider extrinsic
   evidence of the parties’ intent in arriving at an interpretation of
   the agreement’s language and will rely on the above-mentioned
   standards of interpretation.” Id. If not, “the unambiguous meaning”


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   controls. Id. The second step assesses “whether to enforce the
   agreement, keeping in mind that the validity of a bargained guilty
   plea depends finally on the voluntariness and intelligence with
   which the defendant-and not his counsel-enters the bargained plea.”
   Id. (internal quotation marks omitted).


         The undersigned concludes that the written agreement is, in
   fact, ambiguous in the same manner that the plea agreement in
   Copeland   was   ambiguous.   Both   contain    an    omission     as   to   the
   underlying dispute. Here, although the Government contends that
   Movant’s plea offer was extended as a global resolution of this
   case (DE#33:6), the plea agreement does not explicitly reflect that
   intent. In addition, the plea colloquy arguably suggests, but does
   not explicitly reflect, that Movant’s plea deal was conditioned
   upon him surrendering all appellate challenges—both jurisdictional
   and non-jurisdictional. Although the plea agreement states that
   “[t]here are no other agreements, promises, representations, or
   understandings” (Cr-DE#63:7), it is unclear whether that language
   sufficiently conveys a waiver of the pre-trial motions. Because the
   undersigned finds that the term is ambiguous, the undersigned now
   turns to parol evidence to consider Movant’s intent in entering the
   plea deal based on oral communications made to him. See Copeland,
   381 F. 3d at 1106.


         As stated earlier, the undersigned found Movant’s account not
   credible. In particular, Movant’s account that he was never told
   that the plea deal was conditioned upon his acceptance of a global
   resolution of this case was deemed incredible. After all, he
   demonstrated that he is willing to make material omissions in order
   to achieve a favorable narrative. Movant’s trial counsel, Ms.
   Bozanic, was very credible with respect to her testimony. According
   to   her   testimony,   she   told   Movant    that   his   plea    deal     was


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   conditioned upon him dropping all appeals, including those related
   to his pre-trial motions. During Ms. Bozanic’s testimony, Ms.
   Bozanic recalled telling Mr. Ross that they would have lacked the
   leverage to attain such a favorable plea deal had they pursued an
   interlocutory appeal. As such, her testimony establishes that the
   plea deal existed only because they were able to sacrifice any
   appeals on the pre-trial motions.


         Approaching the second step, this Court must consider whether
   Movant reasonably understood that he was ending all litigation by
   signing the plea agreement and pleading guilty. Movant insisted
   that he was never informed that he would be ending all appeals. But
   Movant’s lack of credibility and the context supplied by his trial
   counsel at the evidentiary hearing shows otherwise. This Court
   should decline to construe the plea agreement rigidly.


         Therefore, because any imprecision as to the Government’s
   drafting of the plea agreement can be resolved by looking at the
   oral communications and backdrop of the negotiations, the plea
   agreement is construed in the Government’s favor. This is because
   Movant reasonably understood that his plea operated as a global
   resolution of this case based on those oral communications. Stated
   succinctly, and as a result, Movant’s guilty plea was knowingly and
   voluntarily entered into.



                        2. Failure to File an Appeal
         “[A]n attorney who fails to file an appeal on behalf of a
   client who specifically requests it acts in a professionally
   unreasonable manner per se.” Gomez-Diaz v. United States, 433 F.3d
   788, 791–92 (11th Cir. 2005) (citing Roe v. Flores-Ortega, 528 U.S.
   470, 477 (2000)).


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         As    discussed    earlier,    the    undersigned    finds    incredible
   Movant’s testimony that Ms. Bozanic failed to file a requested
   notice of appeal. Although an interlocutory appeal on the pre-trial
   motions     was   originally     planned,    the    strategy   changed.     The
   undersigned found that Movant was part of those discussions as to
   an interlocutory appeal.


         In    addition,    as     explained    earlier,     Movant    reasonably
   understood that his guilty plea was conditioned upon a global
   resolution of his case. Further, the undersigned found that he
   demonstrated no interest in his appeals while continuing his
   correspondence with Ms. Bozanic.


         Accordingly, Movant has not shown that Mr. Bozanic failed to
   file a requested notice of appeal. Thus, he failed to satisfy the
   burden of proof under section 2255. See Beeman v. United States,
   871 F. 3d 1215, 1222 (11th Cir. 2017) (citing cases) (providing
   that movants bear the burden of proof under section 2255); Holsey
   v. Warden, Ga. Diagnostic Prison, 694 F. 3d 1230, 1256 (11th Cir.
   2012)      (explaining   that     movant    bears    burden    of   proof   on
   ineffectiveness claim).


         But this determination does not end the inquiry. Where, as
   evidently here, “the defendant neither instructs counsel to file an
   appeal nor asks that an appeal not be taken,” courts next consider
   whether defense counsel “consulted with the defendant about an
   appeal.” Flores-Ortega, 528 U.S. at 478. Consult under Flores-
   Ortega means “[]advising the defendant about the advantages and
   disadvantages of taking an appeal, and making a reasonable effort
   to discover the defendant’s wishes.” Id.


         Here, Movant has not shown that Mr. Bozanic failed to consult


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   with him regarding an appeal. When the appeal was being considered
   as an interlocutory appeal, Movant was part of the discussions.
   During negotiations for the plea deal, Ms. Bozanic went over the
   appellate waiver and talked to Movant about the fact that he was
   giving up his right to appeal the pre-trial motions. Because Movant
   failed to make an adequate foundation to support that Ms. Bozanic
   did not consult with him about the consequences of pleading guilty,
   Movant failed to show that Mr. Bozanic did not consult with him
   within the meaning of Flores-Ortega.


         Moreover, even if Movant had adequately shown that Ms. Bozanic
   failed to consult with him, this would not have ended the inquiry.
   Counsel’s failure to consult with the defendant about an appeal is
   not per se deficient. Flores-Ortega, 528 U.S. at 478, 480-81. “If
   counsel has not consulted with the defendant, the court must . . .
   ask . . . : whether counsel’s failure to consult with the defendant
   itself constitutes deficient performance.” Id. at 478.


         In this regard, “counsel has a constitutionally imposed duty
   to consult with the defendant about an appeal when there is reason
   to think either (1) that a rational defendant would want to appeal
   (for example, because there are nonfrivolous grounds for appeal),
   or (2) that this particular defendant reasonably demonstrated to
   counsel that he was interested in appealing.” Id. at 480.


         Regarding reason (2), Movant did not reasonably demonstrate
   interest in appealing. As to an interlocutory appeal, although
   Movant   had   an   interest,   he   was   part   of   the   discussions   to
   potentially reserve those appeals post-judgment. As to a post-
   judgment appeal, Movant never alerted trial counsel of his interest
   to pursue an appeal. While Movant alleges that he assumed the
   appeals were pending, he was found incredible on this point. As


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   such, it cannot be said that he reasonably demonstrated interest
   after accepting the plea deal. In fact, the lenient sentence
   received and the subsequent continued correspondence between Ms.
   Bozanic    and   Movant   bolsters   that   Movant   did   not   reasonably
   demonstrate interest in appealing.


         Regarding reason (1), “[a]lthough not determinative, a highly
   relevant factor in this inquiry will be whether the conviction
   follows a trial or a guilty plea, both because a guilty plea
   reduces the scope of potentially appealable issues and because such
   a plea may indicate that the defendant seeks an end to judicial
   proceedings.” Flores-Ortega, 528 U.S. at 480. Courts “must [also]
   consider   such   factors   as   whether    the   defendant   received   the
   sentence bargained for as part of the plea and whether the plea
   expressly reserved or waived some or all appeal rights.” Id.


         In this case, as shown earlier, the voluntary guilty plea was
   entered into to end the proceedings by global resolution. The plea
   agreement offered dropping two counts in exchange for a guilty plea
   on one count for conspiracy to launder monetary instruments for a
   sentence of 108-months, or nine years, of incarceration. The
   district court imposed that recommended sentence to be followed by
   three years of supervisory release. (Cr-DE#72).


         As such, had the Government obtained a guilty verdict on that
   count alone, the Court could have imposed a twenty-year sentence.
   (Cr-DE#3:7). In addition, had the Government obtained a guilty
   verdict on all counts, the Court could have imposed a life sentence
   as evidenced by the penalty sheet attached to the indictment.(Cr-
   DE#3:7). Thus, excluding the supervisory period imposed, Movant
   received what he bargained for to avoid the risk of a more onerous
   sentence—life imprisonment.


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         Finally, after reviewing the issues Movant wanted to appeal in
   the omnibus order denying his pre-trial motions (Cr-DE#57), the
   undersigned     observes        no   error    in   the    District      Court   Judge’s
   reasoning or application of law. In sum, a rational defendant would
   not have wanted to appeal for fear of having the Government try to
   rescind   the    plea     agreement     and       later   obtain    a   more    onerous
   sentence. For these reasons, claim 1 lacks merit.


   B. Ineffective Assistance - The “Extradition” Challenge
         In his second claim, Movant contends his trial counsel was
   constitutionally         ineffective     for       failing     to   argue   that     the
   indictment      should     be    dismissed        based   on   violations       of   the
   “1904/1905 and 1997 Treaty between Haiti and the United States.”
   (DE#8:6). Counsel filed a motion to dismiss for lack of personal
   jurisdiction that contained the following language:


               It   is   acknowledged   that  there   is   an
               extradition treaty between Haiti and the
               United States[,] which has been signed in 1904
               and in effect since 1905. That extradition
               treaty provides that neither the United States
               nor Haiti is obliged to surrender their own
               nationals... The United States went to a
               foreign country, disregarded Haiti’s laws and
               abducted a Haitian citizen...

               Recognizing this case law [on extradition
               principles], counsel does not seek dismissal
               based upon a violation of the treaty between
               Haiti and the United States but rather, moves
               to dismiss because the conduct of the United
               States was so outrageous that an exception to
               the Ker-Frisbie Doctrine does indeed apply.

   (Cr-DE#38:4, 6) (bolded text in original). In his memorandum in
   support, Movant wishes his trial counsel had focused on the rule of
   specialty based upon his assertion that trial counsel should have
   pointed out that the charges in the indictment were not enumerated

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   in the United States/Haiti treaties. Attempting to support this
   claim,      Movant    discusses    a      resolution    from     Haiti’s     senate
   unanimously      finding    that       the     United   States        violated   the
   aforementioned treaties. Movant also relies upon procedural aspects
   as   to   how   the   extradition      process      functions    to    contend   his
   “extradition” was not legally obtained. (DE#9:3). In Movant’s
   reply, Counsel for Movant relies upon statements made by various
   political figures assessing the legality of his custody. (DE#27:4).


         In order to discuss whether trial counsel was constitutionally
   ineffective, it requires a discussion of the applicable law trial
   counsel would have faced in presenting such a claim.


                          1. Underlying Applicable Law
         Extradition is not the only method by which the United States
   can obtain custody of a foreign citizen. See United States v.
   Gardiner, 279 Fed. App’x 848 (11th Cir. 2008) (“An extradition
   treaty often is not the exclusive method by which the United States
   can obtain custody of a foreign citizen.”). See also Harden v.
   Pataki, 320 F. 3d 1289, 1296 (11th Cir. 2003) (“the jurisdiction of
   a trial court over a criminal defendant is not vitiated by the
   violation of extradition procedures).


         The    procedures    set    forth      in   extradition    treaties    merely
   “provide a mechanism which would not otherwise exist, requiring,
   under certain circumstances, the [signatory countries] to extradite
   the individuals to the other country...when the Treaty is invoked.”
   Gardiner, 279 Fed. App’x at 848 (quoting United States v. Alvarez-
   Machain, 504 U.S. 655, 664-65 (1992)) (emphasis added).


         As such, the Supreme Court has held that a district court has
   jurisdiction even if an individual’s presence to stand trial was


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   obtained by forcible kidnapping. See Alvarez-Machain, 504 U.S. at
   663. In reaching this conclusion, the Court relied upon precedent
   and general principles of treaty construction.


         The U.S. Supreme Court has held that a defendant’s “forcible
   abduction” from Peru was “no sufficient reason” why that individual
   should not answer to charges against him. Alvarez-Machain, 504 U.S.
   at 660-61 (discussing Ker v. Illinois, 119 U.S. 436, 444 (1886)).
   Thus,   as   the   petitioner     in   Ker    could   not   show    governmental
   involvement existed in the effort to forcibly abduct him to stand
   trial, the United States Supreme Court concluded that forcible
   abductions    do   not     necessarily    invoke   the   terms     of   a   treaty.
   Alvarez-Machain, 504 U.S. at 660-62 (discussing Ker, 119 U.S. 436,
   444 (1886)).


         However, Ker left a question unanswered, which was ultimately
   resolved in Alvarez-Machain: are treaty provisions invoked when
   governmental involvement occurred in the forcible abduction of an
   individual so that the abducted individual can stand trial? See id.
   The Court ultimately concluded that every case will depend upon the
   treaty at issue. See Alvarez-Machain, 504 U.S. at 662-63.


         When interpreting a treaty, courts adhere to the text as if
   construing a statute. Alvarez-Machain, 504 U.S. at 663. As the
   relevant     treaty   in    Alvarez-Machain     did   not   explicitly       state
   forcible abductions violated the treaty, the Court had to decide
   whether the treaty possessed an implied clause that neither country
   would resort to kidnapping or forcibly abducting foreign citizens
   for prosecution in their own country. See Alvarez-Machain, 504 U.S.
   at 664-66. The Court answered this question in the negative. See
   id. It reasoned that such an implied clause cannot exist merely by
   relying upon “the most general of international law principles[.]”


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   Id. at 679. As a result, this created a principle that a kidnapping
   or    forcible       abduction      does not        divest      the    federal      courts    of
   jurisdiction, notwithstanding that extradition procedures are not
   followed      by     the       United    States.     Id.   at     670.     If,    however,     an
   extradition         treaty       explicitly    prohibits        forcible         abduction     or
   kidnapping          in    order     to     secure     a    defendant's           presence    for
   prosecution, then the federal government must exclusively resort to
   diplomatic methods (i.e. extradition procedures set forth in the
   treaty). Id. at 670.


          In that same opinion, the U.S. Supreme Court also rejected the
   theory       that    federal       courts     are    divested         of   jurisdiction        to
   prosecute      if        the    foreign    government      makes       official      findings,
   objects, or protests that one of their citizens was improperly
   abducted. See Alvarez-Machain, 504 U.S. at 667-68. Indeed, it is
   immaterial if the foreign country finds a forcible abduction
   offensive or disagrees with this United States’s construction of
   the terms of the treaty. See id.


          Additionally, in interpreting Alvarez-Machain, the Eleventh
   Circuit held that it is also irrelevant if a treaty partner’s
   constitution contains a clause that forbids a citizen’s removal
   from that country. United States v. Noriega, 117 F. 3d 1206, 1213
   (11th Cir. 2017) (rejecting that the United States “kn[e]w or
   should       have    known       that     Panama’s    constitution          prohibited       the
   extradition of its nationals,” as the foreign constitutional clause
   only “informs the United States of the hurdles it will face...such
   a provision says nothing about the treaty signatories’ rights to
   opt    for    self-help          (i.e.    abduction)       over    legal     process        (i.e.
   extradition).”) (parentheticals in original).


          Finally, in this Circuit, countries may lawfully agree to


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   transfer a defendant to the United States despite the existence of
   a treaty (i.e. “extra-treaty seizures”). See United States v. Ceja,
   543 Fed. App’x 948, 953 (11th Cir. 2013) (relying upon United
   States v. Arbane, 446 F. 3d 1223, 1225 (11th Cir. 2006) for the
   proposition that the Ker-Frisbie doctrine does not ban agreements
   between two countries when a treaty does not provide extradition as
   sole method of securing jurisdiction).


         In sum, to prevail on a claim that a person was not extradited
   in conformity with the terms of a treaty, an individual must point
   to “the express language of a treaty” or “established practice
   thereunder” to demonstrate “that the United States affirmatively
   agreed not to seize foreign nationals from the territory of its
   treaty partner.” United States v. Noriega, 117 F. 3d 1206, 1213
   (11th Cir. 2017) (discussing United States v. Alvarez-Machain, 504
   U.S. 655 (1992)).


                2. Was Extradition the Only Legal Method ?
         As an initial matter, the Haitian government’s objection to
   Plaintiff’s abduction and prosecution are beyond the scope of what
   this Court must consider. See Alvarez-Machain, 504 U.S. at 667-68.
   So too, it is also beyond the scope of this Court’s inquiry to
   consider whether any other provisions in the treaty or even the
   Haitian constitution imply that the Haitian government understood
   the terms of the treaty to forbid forcible abductions or other
   extra-treaty methods. See Noriega, 117 F. 3d at 1213.


         The initial question this Court must ask is: Did the treaties
   between Haiti     and   the   United   States   contain   a   clause either
   explicitly prohibiting forcible abduction or extra-treaty seizures
   or explicitly stating that extradition is the sole method to secure
   an individual’s presence for prosecution in the foreign country.


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   See Alvarez-Machain, 504 U.S. at 667-68.


         The answer is no. Such a provision does not exist in the
   1904/1905 treaty9 nor in the 1997 treaty.10 Nor has Movant directed
   to this Court as to the existence of such a provision that would
   limit      the   United    States   to    use   only   diplomatic      methods.
   Consequently, the United States was not bound to exclusively resort
   to diplomatic methods (i.e. extradition procedures) to secure
   Plaintiff’s presence for prosecution. Other methods, generally,
   would have been legal.


                             3. Was Movant Extradited ?
         During pre-trial, the United States Government asserted that
   Haitian Justice Minister to the Central Director of the Haitian
   Central Directorate of the Judicial Police provided a letter
   indicating that a transfer procedure was agreed upon after Movant
   was arrested by Haitian officials for other charges in Haiti.11 (Cr-
   DE#44 at 3-5). Because the letter makes no mention of treaty
   provisions, extradition was not the method by which Movant’s
   presence was secured. See Valencia-Trujillo, 573 F. 3d at 1179-81
   (concluding treaty was not invoked due to the diplomatic note’s
   failure to invoke the Colombia-United States treaty).



         9
            The 1904/1905 Treaty can be reviewed at 34 Stat. 2858 (1904). After
   reviewing this Treaty, the undersigned found that the Treaty merely provides for
   certain substantive and procedural requirements that should exist if and when the
   Treaty is invoked. It is silent as to whether extradition is the sole avenue by
   which a Movant’s presence can be obtained.


         10
            The 1997 Treaty can be reviewed at 2002 State Dept. No. 02-93 2002 WL
   31504914. The 1997 Treaty contains no terms related to extradition. Further,
   there is no evidence that this Treaty was invoked in this case, rendering
   Movant’s insistence that it applies meritless.
         11
           This does not serve as commentary on the validity or invalidity of this
   official’s actions in Haiti. It only shows that this Court cannot construe this
   letter to mean the treaty was invoked.

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         Therefore, as extradition was not the only legal method to
   secure    Movant’s   presence,     the    letter    fails   to    invoke   treaty
   principles. See Alvarez-Machain, 504 U.S. at 667-68; Valencia-
   Trujillo, 573 F. 3d at 1179-81. See also United States v. Ceja, 543
   Fed. App’x 948, 953 (11th Cir. 2013) (holding that an “extra-treaty
   seizure” is permissible under the Ker-Frisbie doctrine). As a
   result,    Plaintiff’s     presence      was   obtained     via    a    non-treaty
   agreement or, in the alternative, via forcible abduction. Either
   way, his presence was secured lawfully under the Ker-Frisbie
   doctrine.


            4. Does a Treaty Doctrine or Other Exception Apply ?
         Because Movant’s presence was not secured by treaty, treaty-
   based doctrines like the rule of specialty are inapplicable to him.
   See United States v. Valencia-Trujillo, 573 F. 3d 1171, 1179-81
   (11th Cir. 2009). Thus, contrary to Movant’s contention, he lacks
   standing to     invoke    the    rule    of specialty.      See   id. (“Because
   Colombia’s extradition of Valencia-Trujillo to the United States
   was not based on an extradition treaty between the two countries[,]
   Valencia-Trujillo        lacks    standing     to    assert       the    rule   of
   specialty.”).


         Similarly, because the treaty was not invoked, failure to
   adhere to various extradition procedures is also irrelevant. See
   Alvarez-Machain, 504 U.S. at 668-69 (“[T]o infer from this Treaty
   and its terms that it prohibits all means of gaining the presence
   of an individual outside of its terms goes beyond established
   precedent and practice.”).


         As stated earlier, although Haiti’s officials have made formal
   protests and determined that the United States violated the Treaty,
   that issue is not within the scope of this Court’s review. See id.


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   at 667 (“The Extradition Treaty has the force of law, and...it
   would      appear    that   a    court    must   enforce      it    on   behalf     of   an
   individual regardless of the offensiveness of the practice of one
   nation      to     the   other    nation.”).     Thus,       contrary        to   Movant’s
   contention in his reply (DE#27:5), it does not serve as improper
   commentary on the legitimacy of those actions in Haiti.12


                    5. Ineffective Assistance of Counsel Analysis
         Understanding         these       principles     of     obtaining       a    foreign
   individual’s presence for prosecution, Movant cannot show that
   trial counsel was constitutionally ineffective.


         The Sixth Amendment affords a criminal defendant the right to
   “the Assistance of Counsel for his defen[s]e.” U.S. Const. amend.
   VI. “The benchmark for judging any claim of ineffectiveness must be
   whether counsel’s conduct so undermined the proper functioning of
   the adversarial process that the trial cannot be relied on as
   having produced a just result.” Strickland v. Washington, 466 U.S.
   668, 686 (1984). To prevail on a claim of ineffective assistance of
   counsel, a habeas petitioner must demonstrate both (1) that his
   counsel's         performance     was     deficient,        and    (2)   a     reasonable
   probability that the deficient performance prejudiced the defense.
   Strickland, 466 U.S. at 687. An ineffective assistance of counsel
   claim may be raised with respect to errors made by trial counsel or
   direct appeal counsel, and both are governed by Strickland. See,


         12
           The act of state doctrine precludes federal courts from inquiring into
   the validity of the public acts of a recognized foreign sovereign power committed
   within its own territory. Glen v. Club Mediterranee, S.A., 450 F.3d 1251, 1253
   (11th Cir. 2006) (quoting Banco Nacional de Cuba v. Sabbatino, 376 U.S. 398, 401
   (1964)). It provides that “acts of foreign sovereigns taken within their own
   jurisdictions shall be deemed valid.” Glen, 450 F. 3d at 1253 (internal quotation
   marks omitted). However, it applies only when the outcome of the case turns upon
   the effect of official action by a foreign sovereign. W.S. Kirkpatrick & Co. v.
   Envtl. Tectonics Corp., Int’l, 493 U.S. 400, 406 (1990) (emphasis added). As
   shown in this report, the official action has no effect on this Court’s review,
   revealing this doctrine is inapplicable to Movant.

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   e.g., Raleigh v. Sec’y, Fla. Dep’t of Corr., 827 F. 3d 938, 957
   (11th Cir. 2016), cert. denied, Raleigh v. Jones, 137 S. Ct. 2160
   (2017) (“The Strickland standard for ineffective assistance of
   [trial]   counsel     governs   claims         of   ineffective      assistance    of
   appellate counsel.”).


         In assessing whether a particular counsel’s performance was
   constitutionally deficient, courts indulge a strong presumption
   that counsel’s conduct falls within the wide range of reasonable
   assistance. Strickland, 466 U.S. at 689 (“Judicial scrutiny of
   counsel’s performance must be highly deferential.”). Generally
   speaking,     reasonableness         is        evaluated     under     “prevailing
   professional norms.” Strickland, 466 U.S. at 688. But, in order to
   “eliminate    the    distorting      effects        of   hindsight,”    and   to   be
   consistent in acknowledging there are “countless ways to provide
   effective assistance in any given case,” courts must not engage in
   “intensive scrutiny [or apply] rigid requirements.” Strickland, 466
   U.S. at 689-90. By doing so, it would intrude upon “counsel’s
   independence” and “restrict the wide latitude counsel must have in
   making tactical decisions.”          Strickland, 466 U.S. at 689.


         Regarding trial counsel’s performance, trial counsel did the
   best job possible under the circumstances. Because courts are
   reluctant to second-guess strategic decisions made by counsel,
   trial counsel is presumed to have provided adequate performance.
   See, e.g., Bates v. Sec’y, Fla. Dep’t of Corr., 768 F. 3d 1278,
   1298 (11th Cir. 2014). Reasonable lawyers could disagree about the
   best strategy, but that is not the question on habeas review. See
   id.   Indeed,       “[t]he   Sixth     Amendment          guarantees    reasonable
   competence, not perfect advocacy with the benefit of hindsight.”
   Yarborough v. Gentry, 540 U.S. 1, 8(2003).




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         “When counsel focuses on some issues to the exclusion of
   others, there is a strong presumption that he [or she] did so for
   tactical reasons rather than sheer neglect.” Id. (relying upon
   Strickland, 466 U.S. at 690). This presumption wields “particular
   force where” the ineffective-assistance claim is based “solely on
   the trial record, creating a situation in which a court ‘may have
   no way of knowing whether a seemingly unusual or misguided action
   by counsel had a sound strategic motive.’” Yarborough, 540 U.S. at
   8 (quoting Massaro v. United States, 538 U.S. 500, 505 (2003)).


         Trial counsel, demonstrating candor to the Court, acknowledged
   the case law that cut against presenting a claim under extradition
   principles. (Cr-DE#38:3-4) (“Recognizing this case law, counsel
   does not seek dismissal based upon a violation of the treaty
   between Haiti and the United States...”). Instead, the motion to
   dismiss presented a good faith argument that precedent from another
   circuit should apply in this circuit as well. (Cr-DE#38:4). Thus,
   this Court must presume that trial counsel did so for strategic
   reasons. See Yarborough, 540 U.S. at 8. Accordingly, Movant cannot
   meet his burden of showing deficient performance by expressing his
   mere disagreement with trial counsel’s strategy.


         Nor   could   Movant   show   that   he   was   prejudiced   by   trial
   counsel’s strategy. To demonstrate prejudice, petitioners must show
   that there is a “reasonable probability that, but for counsel’s
   unprofessional errors, the result of the proceeding would have been
   different.” Strickland, 466 U.S. at 694. A probability that is
   reasonable is defined as “a probability sufficient to undermine
   confidence in the outcome.” Id. As explained earlier, Movant’s
   presence did not need to be secured by extradition principles.
   Other legal avenues were available. Observing that the underlying
   merit of Movant’s proposed arguments would have failed, trial


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   counsel    cannot   be   deemed      ineffective    for   making   good   faith
   arguments that an extension should have applied over the meritless
   arguments Movant proposes. See, e.g., Denson v. United States, 804
   F. 3d 1339, 1342 (11th Cir. 2015) (“Failing to make a meritless
   objection    does not     constitute     deficient    performance.”).     Thus,
   Movant cannot satisfy any prong under Strickland.


         The undersigned addresses one final point raised by Counsel
   for Movant. In a supplement, Counsel for Movant submits that
   Article 1.1 of the United Nations Convention Against Torture
   applied and should have been argued by trial counsel in the motion
   to dismiss.13 Yet, Counsel for Movant provides no legal citation to
   indicate that an attorney could be constitutionally ineffective for
   failing to make such an argument. Nor has Counsel for Movant
   provided any citation to indicate that such an argument would have
   been cognizable. It appears Counsel for Movant invokes the most
   general of international law principles, see Alvarez-Machain, 504
   U.S. at 679, in hopes that something might stick.


         It does not. The undersigned’s research—on the issue of any
   connection between the Convention and ineffective assistance of
   counsel    claims    related    to    extradition    principles—yielded       no
   relevant results. Accordingly, Movant has failed to carry his
   burden that his counsel was constitutionally ineffective, rendering
   Claim two meritless.


   C. Ineffective Assistance-Failing to Investigate and Present
   Evidence on Speedy Trial Violation
        In Claim Three, Movant contends that his trial counsel was
   ineffective for failing to investigate and present evidence to

         13
            The undersigned assumes that Counsel for Movant relies upon the
   Convention to argue that Movant’s presence was obtained by “torture,” ergo, trial
   counsel should have argued that this Court somehow lacked personal jurisdiction
   in securing Movant’s presence.

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   support a claim that his speedy trial rights were violated. In
   support, he relies upon various exhibits. Entry of a guilty plea
   waives all non-jurisdictional defects occurring prior to the time
   of the plea, including violations of a defendant’s rights to a
   speedy trial and due process. E.g., Tiemens v. United States, 724
   F. 2d 928, 929 (11th Cir. 1984). See also United States v. Wilson,
   292 Fed. App’x 895, 897 (11th Cir. 2008).


         Here, trial counsel was found credible for explaining to
   Movant that his guilty plea operated as a global resolution of the
   case, and the underlying criminal record shows nothing indicating
   that Movant did not understand that. As such, unlike Pierre, where
   the record demonstrated that Mr. Pierre entered his guilty plea
   based on the reasonable but mistaken belief that his speedy trial
   issue was preserved for appeal, this case is distinguishable. See
   United States v. Pierre, 120 F. 3d 1153, 1155-56 (11th Cir. 1997).
   Movant knew what he bargained for. In the alternative, Movant has
   failed to carry his burden in showing that he did not know that he
   waived this issue by pleading guilty. Accordingly, this claim has
   been waived.


                        VII. CERTIFICATE OF APPEALABILITY
         “The district court must issue or deny a certificate of
   appealability    when    it     enters    a   final   order   adverse    to   the
   applicant.” Rule 11(a), Rules Governing § 2255 Proceedings. “If the
   court issues a certificate, the court must state the specific issue
   or   issues   that    satisfy    the   showing   required     by   28   U.S.C.   §
   2253(c)(2).” Id. “If the court denies a certificate, a party may
   not appeal the denial but may seek a certificate from the court of
   appeals under Federal Rule of Appellate Procedure 22.” Id. “A
   timely notice of appeal must be filed even if the district court
   issues a certificate of appealability.” Rule 11(b), Rules Governing


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   § 2255 Proceedings.


         “A certificate of appealability may issue . . . only if the
   applicant has made a substantial showing of the denial of a
   constitutional right.” 28 U.S.C. § 2253(c)(2). When a district
   court rejects a movant’s constitutional claims on the merits, “a
   petitioner must show that reasonable jurists could debate whether
   . . . the petition should have been resolved in a different manner
   or that the issues presented were adequate to deserve encouragement
   to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336
   (2003) (citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)). In
   contrast, “[w]hen the district court denies a habeas petition on
   procedural    grounds   without    reaching    the    prisoner’s   underlying
   constitutional claim, a [certificate of appealability] should issue
   when the prisoner shows . . . that jurists of reason would find it
   debatable whether the petition states a valid claim of the denial
   of a constitutional right and that jurists of reason would find it
   debatable whether the district court was correct in its procedural
   ruling.” Slack, 529 U.S. at 484.


         Thus, habeas litigants need not show that an appeal would
   succeed among some jurists. Miller-El v. Cockrell, 537 U.S. 322,
   337 (2003). After all, “a claim can be debatable even though every
   jurist of reason might agree, after the COA has been granted and
   the case has received full consideration, that petitioner will not
   prevail.” Id. at 338.


         After   considering    the   arguments    and    underlying    criminal
   record, the Court should deny a certificate of appealability. If
   Movant   disagrees,     he   may   express    that    disagreement   in   any
   objections filed with the district court.




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                            VIII. RECOMMENDATIONS


          Based on the foregoing, it is recommended:


          1. That Movant’s section 2255 motion (DE#8) be DENIED;


          2. That no certificate of appealability issue; and


          3. That judgment be entered and the case closed.


          Objections to this report may be filed with the district judge
   within fourteen days of receipt of a copy of the report. Failure to
   file    timely   objections    shall     bar   movant   from   a   de   novo
   determination by the district judge of an issue covered in this
   report and shall bar the parties from attacking on appeal factual
   findings accepted or adopted by the district judge except upon
   grounds of plain error or manifest injustice. See 28 U.S.C. §
   636(b)(1); Thomas v. Arn, 474 U.S. 140, 148-53 (1985); RTC v.
   Hallmark Builders, Inc., 996 F. 2d 1144, 1149 (11th Cir. 1993).



          SIGNED this 11th day of September, 2018.




                                      UNITED STATES MAGISTRATE JUDGE




   Copies furnished:

   Michael James Rosen
   Michael J. Rosen

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